           1:18-cv-01087-SLD-JEH # 1      Page 1 of 8                                       E-FILED
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                                                                       Clerk, U.S. District Court, ILCD

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6

7
                         UNITED STATES DISTRICT COURT
8                        CENTRAL DISTRICT OF ILLINOIS
9

10   RHANDA LORENZEN,
                                               Case No.:
11               Plaintiff,

12         vs.
                                               COMPLAINT AND DEMAND FOR
13                                             JURY TRIAL
14   TRANSWORLD SYSTEMS –                      (Unlawful Debt Collection Practices)
15   NATIONAL DEBT COLLECTION

16   COMPANY, AND CREDIT ONE

17   BANK, N.A.

18               Defendant.

19
                  COMPLAINT AND DEMAND FOR JURY TRIAL
20
           Plaintiff, Rhanda Lorenzen (“Plaintiff”), through her attorneys, alleges the
21
     following against Defendants, Transworld Systems- National Debt Collection
22
     Company (“Transworld”) and Credit One Bank, N.A. (“Credit One”) (collectively
23
     “Defendants”).
24

25




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1                                 INTRODUCTION
2    1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer

3       Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute
4       that broadly regulates the use of automated telephone equipment. Among
5       other things, the TCPA prohibits certain unsolicited marketing calls, restricts
6       the use of automatic dialers or prerecorded messages, and delegates
7       rulemaking authority to the Federal Communications Commission (“FCC”).
8    2. Count II of the Plaintiff’s Complaint is based upon the Fair Debt Collection

9       Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. which prohibits debt
10      collectors from engaging in abusive, deceptive and unfair practices in
11      connection with the collection of consumer debts.
12   3. Count III of the Plaintiffs Complaint is based on Illinois’ recognition of

13      common law invasion of privacy through intrusion upon seclusion.
14                         JURISDICTION AND VENUE
15   4. Jurisdiction of the court arises under 28 U.S.C. § 1331, 15 U.S.C. 1692k(d)

16
        and 47 U.S.C. § 227.

17
     5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part of

18
        the events or omissions giving rise to the claim occurred in this District.

19
     6. Because Defendant transacts business here, personal jurisdiction is

20
        established.

21
                                      PARTIES

22
     7. Plaintiff is a natural person residing in Princeton, Bureau County, Illinois.

23
     8. Plaintiff is a consumer as defined by 15 U.S.C. § 1692a(3).

24
     9. Transworld is a collector of unsecured consumer debt with its headquarters

25
        located in California and regularly transacts business throughout the United



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1       States and Illinois. Transworld may be served with process at its registered
2       agent located at The Company Corporation, 2711 Centerville Road Suite 400,
3       Wilmington, DE 19808.
4    10. Defendant, Transworld, engages in the practice of debt collection. Therefore

5       is a debt collector as that term is defined by 15 U.S.C. § 1692a(6) and sought
6       to collect a consumer debt from Plaintiff.
7    11. Credit One is a national banking association with its headquarters in Las

8       Vegas, NV. Credit One may be served with process at 585 Pilot Road, Las
9       Vegas, NV 89119.
10   12. Defendants’ acted through their agents, employees, officers, members,

11      directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
12      representatives, and insurers.
13

14                          FACTUAL ALLEGATIONS
15   13. The Defendants are attempting to collect a debt from Plaintiff.

16   14. The debt at issue arises out of an alleged transaction which was primarily for

17      personal, family or household purposes and falls within the definition of
18      “debt” under the FDCPA, 15 U.S.C. § 1692a(5)
19   15. On or about June 2017, Defendants began placing calls to Plaintiff’s cellular

20      phone number 815-878-8672, in an attempt to collect an alleged debt.
21   16. The calls came from the following telephone numbers: 815-491-8544, 815-

22      491-8642, 815-491-8909, 815-491-8707, 815-491-8918, 815-491-8860, 815-
23      491-8821, 815-491-8874, 815-491-8939, 815-491-8831, 815-491-8887, 815-
24      491-8975, 815-491-8993 and 815-491-8943, 800-599-2346, 612-444-0402,
25




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1       212-519-0550, 860-509-0926, 866-473-4868 and 973-241-1202; upon
2       information and belief these numbers are owned or operated by Defendants.
3    17. On or around June 5, 2017, at approximately 6:03 p.m., Plaintiff answered a

4       collection call from Defendant, Credit One, from telephone number 815-491-
5       8544; Plaintiff heard a pause before the collection agent began to speak,
6       indicating the use of an automated telephone dialing system.
7    18. Defendant informed Plaintiff that it was attempting to collect a debt.

8    19. Plaintiff instructed Defendant not to contact her any further.

9    20. At some time after June 5, 2017, Defendant, Credit One, hired Defendant,

10      Transworld to contact Plaintiff on their behalf on the alleged outstanding debt.
11   21. As an agent of Credit One, Transworld Systems did not have consent to call

12      Plaintiff since she revoked consent to be called on June 5, 2017.
13   22. Despite the revocation, Defendants continued to call Plaintiff multiple times

14      a day.
15   23. The Defendants ignored Plaintiff’s requests to cease calls and continued

16      calling her through July 2017.
17   24. Upon information and belief, approximately 122 calls were made by the

18      Defendant to the Plaintiffs cellular phone after Plaintiff had initially requested
19      not to be contacted.
20   25. The Federal Communications Commission (“FCC”) noted in its 2003 TCPA

21      Order that a predictive dialer is “equipment that dials numbers and, when
22      certain computer software is attached, also assists telemarketers in predicting
23      when a sales agent will be available to take calls. The hardware, when paired
24      with certain computer software, has the capacity to store or produce numbers
25




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1       and dial those numbers at random, in sequential order, or from a database od
2       numbers.” 2003 TCPA Order, 18 FCC Rcd at 14091, para. 131.
3    26. The FCC further explained that the “principal feature of predictive dialing

4       software is a timing function, not number storage or generation.” Id.
5    27. Finally, the FCC stated that “a predictive dialer falls within the meaning and

6       statutory definition of ‘automatic telephone dialing equipment’ and the intent
7       of Congress.” Id. At 14091-92, paras. 132-33.
8    28. The conduct was not only willful but done with the intention of causing

9       Plaintiff such distress, so as to induce her to pay the debt.
10   29. Plaintiff experienced embarrassment having to explain the contact phone calls

11      to co-workers and friends.
12   30. The incessant calls after the Plaintiff requested calls cease caused extreme

13      stress, and frustration. She was frequently reduced to tears and experienced
14      anxiety.
15   31. As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

16      including but not limited to, emotional and mental pain and anguish.
17                                    COUNT I
                                 As to all Defendants
18
                         (Violations of the TCPA, 47 U.S.C. § 227)
19
     32. Plaintiff incorporates by reference all of the above paragraphs of the
20
        Complaint as though fully stated herein.
21
     33. Defendants violated the TCPA. Defendants’ violations include, but are not
22
        limited to the following:
23      (a)   Prior to the filing of the action, on multiple occasions, Defendants
24      violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part,
25      “It shall be unlawful for any person within the United States . . . to make any



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1       call (other than a call made for emergency purposes or made with the prior
2
        express consent of the called party) using any automatic telephone dialing
        system or an artificial or prerecorded voice — to any telephone number
3
        assigned to a . . . cellular telephone service . . . or any service for which the
4
        called party is charged for the call.
5
        (b)      Within four years prior to the filing of the action, on multiple
6
        occasions, Defendant willfully and/or knowingly contacted Plaintiff at
7       Plaintiff’s cellular telephone using an artificial prerecorded voice or an
8       automatic telephone dialing system and as such, Defendant knowing and/or
9    willfully violated the TCPA.
     34. As a result of Defendants’ violations of 47 U.S.C. § 227, Plaintiff is entitled
10
        to an award of five hundred dollars ($500.00) in statutory damages, for each
11
        and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds
12
        that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is
13
        entitled to an award of one thousand five hundred dollars ($1,500.00), for
14      each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.
15      § 227(b)(3)(C).
16                                     COUNT II
                               As to Transworld Systems
17
      (Violation of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692)
18
     35. Plaintiff incorporates herein by reference all the above paragraphs of the
19
        complaint as though fully set forth herein at length.
20
     36. Defendant, Transworld, violated provisions of the FDCPA, including but not
21      limited to, the following:
22            a. Defendant violated §1692d(5) by causing a telephone to ring 122
23               times repeatedly or continuously with intent to annoy, abuse or harass

24
                 Plaintiff. Defendant called as often as seven times per day on several
                 days.
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1          b. Defendant violated §1692f by using unfair or unconscionable means
2
               to collect or attempt to collect any debt.
           c. Defendant violated §1692c(a)(1) by calling Plaintiff at a time when
3
               they knew it was inconvenient for her to receive calls. Plaintiff
4
               requested that Transworld cease calls, but it ignored her request and
5
               continued to call her.
6
     37. As a result of the above violations of the FDCPA, Transworld is liable to the
7       Plaintiff for actual damages, statutory damages of up to $1,000 and
8       attorney’s fees and costs.
9

10
                                         COUNT III
                                     As to All Defendants
11
     38. Plaintiff incorporates herein by reference all of the above paragraphs of this
12
        complaint as though fully set forth herein at length.
13
     39. Defendants’ violated Plaintiff’s right to privacy through intrusion upon
14
        seclusion.
15
     40. Defendants’ intentionally intruded into Plaintiff’s right to privacy by calling
16
        her at least one hundred twenty-two (122) times in approximately six weeks
17
        after Plaintiff asked that the calls cease.
18
     41. Defendant’s intruded into Plaintiff’s private affairs because they called her
19
        multiple times per day for six weeks straight; at times, up to seven times per
20
        day.
21
     42. Defendants’ actions would be highly offensive to a reasonable person.
22
     43. Defendants’ actions were unjustifiable, unreasonable and unwarranted
23
        because the Defendants’ know Plaintiff did not want to be called anymore.
24
     44. Due to Defendants’ actions, Plaintiff is entitled to actual damages for
25
        emotional distress and mental pain and anguish.


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1

2         WHEREFORE, Plaintiff, Rhanda Lorenzen, respectfully requests judgment be
3         entered against Defendants, for the following:
4

5                A. Statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A), 47 U.S.C.
6                   § 227(b)(3)(B);
7                B. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
8                C. Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. §
9                   1692k(a)(3);
10               D. Any other relief that the Honorable Court deems appropriate.
11

12

13                              DEMAND FOR JURY TRIAL
14           Please take notice that Plaintiff demands a trial by jury in this action.
15

16   //
17   //
18   RESPECTFULLY SUBMITTED,
19

20
     Dated: February 27, 2018                  By:    /s/ David A. Chami
21
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25
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